              Case 2:20-cv-01623-JCC Document 47 Filed 05/05/22 Page 1 of 3



 1                                                  THE HONORABLE JOHN C. COUGHENOUR
 1                                                             NOTING DATE: MAY 5, 2022
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 8                          UNITED STATES DISTRICT COURT FOR THE
 8                            WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
 9
10   TWIN CITY FIRE INSURANCE                        )   NO. 2:20-cv-01623-JCC
10   COMPANY,                                        )
11                                                   )
11                          Plaintiff,               )   JOINT MOTION TO CONTINUE CASE
12                                                   )   MANAGEMENT DATES
12           v.                                      )
13                                                   )
13   LUNDBERG, LLC,                                  )   NOTE ON MOTION CALENDAR:
14                                                   )   MAY 5, 2022
14                          Defendant.               )
15                                                   )
15
16
16                                                MOTION
17
17          Pursuant to Fed. R. Civ. P. 6(b) and 16(b)(4), and LCR 16 (b)(6), plaintiff Twin City Fire
18
18   Insurance Company and defendant Lundberg, LLC (collectively “parties”) stipulate to this Joint
19
19   Motion for an Order continuing the case management dates assigned to this action in the Order
20
20   dated December 9, 2021. Dkt. 38.
21
21                                           MEMORANDUM
22
22          The parties have previously advised the Court that this insurance coverage case will not
23
23   be ready for trial until resolution of the underlying action, which is captioned Packaging
24
24   Corporation of America v. Lundberg, LLC, No. 19-2-28930-9 SEA (Wash. Sup. Ct. King Cty.).
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25          At the time of this Court’s issuance of the Order currently in effect that set the trial for
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26   this action for December 19, 2022, the trial of the underlying action was set to begin on May 2,

                                                                               GORDON & POLSCER, L.L.C.
     JOINT MOTION TO CONTINUE CASE
                                                                    9020 SW Washington Square Rd., Suite 560
     MANAGEMENT DATES - 1                                                                 Tigard, OR 97223
     2:20-cv-01623-JCC                                                                      (503) 242-2922
                Case 2:20-cv-01623-JCC Document 47 Filed 05/05/22 Page 2 of 3



 1
 1   2022. On April 25, 2022, the King County Superior Court issued an order staying all further
 2
 2   proceedings in the underlying action pending resolution of plaintiff Packaging Corporation of
 3
 3   America’s discretionary appeal of the Order granting defendant A.H. Lundberg Systems Ltd.’s
 4
 4   Motion for Summary Judgment. The Court of Appeals hearing for whether that court will accept
 5
 5   discretionary review is set for June 24, 2022. Thus, the trial in the underlying action would not
 6
 6   be reset until a date after that hearing. Accordingly, and due to need to conduct discovery
 7
 7   following resolution of the underlying action, the parties respectfully request that trial in this
 8
 8   matter be continued and re-set for no earlier than July 24, 2023, and that other deadlines likewise
 9
 9   be continued.
10
10            The parties respectfully suggest the following changes to the Civil Trial Scheduling
11
11   Order for this action:
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13
13   Current Civil Trial Scheduling Order dates                Proposed continued dates
14
14   Discovery cutoff: August 19, 2022                         March 20, 2023
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15   Mediation completed: April 1, 2022                        November 1, 2022
16
16   Dispositive motion deadline: September 23, 2022           April 24, 2023
17
17   Proposed pretrial order: December 9, 2022                 July 10, 2023
18   Trial briefs and proposed voir dire/jury instructions:
18   December 15, 2022                                         July 17, 2023
19
19   Trial: December 19, 2022                                  July 24, 2023
20
20
21
21            The parties note that if the Court of Appeals decides to accept discretionary review, then
22
22   a further extension of deadlines will be required and sought by the parties.
23
23            This motion is brought for good cause as shown herein and not for the purpose of undue
24
24   delay.
25
25   ///
26
26   ///

                                                                               GORDON & POLSCER, L.L.C.
     JOINT MOTION TO CONTINUE CASE
                                                                    9020 SW Washington Square Rd., Suite 560
     MANAGEMENT DATES - 2                                                                 Tigard, OR 97223
     2:20-cv-01623-JCC                                                                      (503) 242-2922
               Case 2:20-cv-01623-JCC Document 47 Filed 05/05/22 Page 3 of 3



 1
 1                                            CONCLUSION
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 2          Because the trial of the underlying action is stayed pending resolution of an appeal in that
 3
 3   action, and because the parties will need time to conduct discovery and potentially file
 4
 4   dispositive motions after the conclusion of the underlying action, the parties jointly respectfully
 5
 5   request that this Court issue an order continuing the case management dates assigned to this
 6
 6   action to accommodate the litigation of this action.
 7
 7
 8
 8          DATED this 5th day of May 2022.
 9
 9   STIPULATED BY:
10
10
11   GORDON & POLSCER, L.L.C.                       LANE POWELL PC
11
12
12   By s/ Brian C. Hickman                         By s/ Andrew J. Gabel
13   Brian C. Hickman, WSBA No. 50089               Andrew J. Gabel, WSBA No. 39310
13   bhickman@gordon-polscer.com                    gabela@lanepowell.com
14   Attorneys for Plaintiff Twin City Insurance    Attorneys for Defendant Lundberg, LLC
14   Company
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17          IT IS SO ORDERED:
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22                                                          John C. Coughenour
22                                                          UNITED STATES DISTRICT JUDGE
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                                                                              GORDON & POLSCER, L.L.C.
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                                                                   9020 SW Washington Square Rd., Suite 560
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     2:20-cv-01623-JCC                                                                     (503) 242-2922
